          Case 2:23-cv-00027-AJS Document 8 Filed 02/09/23 Page 1 of 5

                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF PENNSYLVANIA

BLAIR DOUGLASS,
                                                LEAD CASE
              Plaintiff,                        23cv0018
                                                ELECTRONICALLY FILED
     v.

PATTERN BRANDS, LLC,

              Defendant.


BLAIR DOUGLASS,
                                                Member Case
              Plaintiff,                        23cv0027
                                                ELECTRONICALLY FILED
     v.

NESTLE PURINA PETCARE COMPANY,

              Defendant.


BLAIR DOUGLASS,
                                                Member Case
              Plaintiff,                        23cv0029
                                                ELECTRONICALLY FILED
     v.

FARMGIRL FLOWERS INC.,

              Defendant.


BLAIR DOUGLASS,
                                                Member Case
              Plaintiff,                        23cv0038
                                                ELECTRONICALLY FILED
     v.

JW PEI INC

              Defendant.
          Case 2:23-cv-00027-AJS Document 8 Filed 02/09/23 Page 2 of 5

BLAIR DOUGLASS,
                                                Member Case
              Plaintiff,                        23cv0039
                                                ELECTRONICALLY FILED
     v.

JOULES USA INC.

              Defendant.


BLAIR DOUGLASS,
                                                Member Case
              Plaintiff,                        23cv0044
                                                ELECTRONICALLY FILED
     v.

LEON & GEORGE, INC.

              Defendant.


BLAIR DOUGLASS,
                                                Member Case
              Plaintiff,                        23cv0057
                                                ELECTRONICALLY FILED
     v.

HYDROJUG, INC.

              Defendant.


BLAIR DOUGLASS,
                                                Member Case
              Plaintiff,                        23cv0097
                                                ELECTRONICALLY FILED
     v.
TRIFECTA NUTRITION, INC.

              Defendant.


BLAIR DOUGLASS,
                                                Member Case
              Plaintiff,                        23cv0105
                                                ELECTRONICALLY FILED
    v.
LUNYA COMPANY,

              Defendant.
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BLAIR DOUGLASS,
                                            Member Case
          Plaintiff,                        23cv0108
                                            ELECTRONICALLY FILED
     v.
LULL VENTURES, LLC

          Defendant.


BLAIR DOUGLASS,
                                            Member Case
          Plaintiff,                        23cv0118
                                            ELECTRONICALLY FILED
     v.
STADIUM ENTERPRISES, LLC

          Defendant.


BLAIR DOUGLASS,
                                            Member Case
          Plaintiff,                        23cv0124
                                            ELECTRONICALLY FILED
    v.
GOZNEY, INC.

          Defendant.


BLAIR DOUGLASS,
                                            Member Case
          Plaintiff,                        23cv0134
                                            ELECTRONICALLY FILED
    v.
BOARDRIDERS, INC.

          Defendant.


BLAIR DOUGLASS,
                                            Member Case
          Plaintiff,                        23cv0135
                                            ELECTRONICALLY FILED
     v.
BIRDDOGS INC.

          Defendant.
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BLAIR DOUGLASS,
                                             Member Case
            Plaintiff,                       23cv0148
                                             ELECTRONICALLY FILED
     v.
THE VERMONT COUNTRY STORE, INC.

            Defendant.


BLAIR DOUGLASS,
                                             Member Case
            Plaintiff,                       23cv0157
                                             ELECTRONICALLY FILED
     v.
PURITANS PRIDE, INC.

            Defendant.


BLAIR DOUGLASS,
                                             Member Case
            Plaintiff,                       23cv0171
                                             ELECTRONICALLY FILED
     v.
CALLAWAY GOLF COMPANY

            Defendant.


BLAIR DOUGLASS,
                                             Member Case
            Plaintiff,                       23cv0181
                                             ELECTRONICALLY FILED
      v.
ITX USA, LLC

            Defendant.


BLAIR DOUGLASS,
                                             Member Case
            Plaintiff,                       23cv0200
                                             ELECTRONICALLY FILED
    v.
FWRD, LLC

            Defendant.
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                                     ORDER OF COURT

      IT IS HEREBY ORDERED that the parties shall proceed as follows:

      1.      Civil Action Nos. 23-cv-27; 23-cv-29; 23-cv-38; 23-cv-39; 23-cv-44; 23-cv-57;

              23-cv-97; 23-cv-105; 23-cv-108; 23-cv-118; 23-cv-124; 23-cv-134; 23-cv-135;

              23-cv-148; 23-cv-157; 23-cv-171; 23-cv-180; 23-cv-181; and 23-cv-200 are

              hereby consolidated with Civil Action No. 2:23-cv-00018, the lead case as

              captioned above.

      2.      All pleading, motions, and other papers hereafter filed shall be filed at Civil

              Action No. 2:23-cv-00018.

      3.      The Clerk of Court shall close Civil Action Nos. 23-cv-27; 23-cv-29; 23-cv-38;

              23-cv-39; 23-cv-44; 23-cv-57; 23-cv-97; 23-cv-105; 23-cv-108; 23-cv-118; 23-

              cv-124; 23-cv-134; 23-cv-135; 23-cv-148; 23-cv-157; 23-cv-171; 23-cv-180; 23-

              cv-181; and 23-cv-200.



                                             SO ORDERED this 9th day of February, 2023.

                                             s/Arthur J. Schwab
                                             Arthur J. Schwab
                                             United States District Judge

cc:   All counsel of record
